Case 1:23-cr-00040-JMB           ECF No. 187-1, PageID.2348              Filed 11/15/24         Page 1 of 2
                                                     U.S. Departme..d of Justice

                                                     United States Attorney's Office
                                                     Western District of Michigan

 The Law Building                                   Mailing Address:                    Telephone (616) 456-2404
 330 Ionia Avenue, NW                               United States Attorney's Office     Facsimile (616) 456-2408
 Suite 501                                          Post Office Box 208
 Grand Rapids, Michigan 49503                       Grand Rapids, Michigan 49501-0208


                                                September 30, 2024

 CERTIFIED MAIL #9589-0710-5270-1622-6194-24
 RETURN RECEIPT REQUESTED

 Common Cents Harvest Farms, LLC
 c/o Resident Agent Theresa Davenport

 Reed City, MI 49677

          Re:       United States v. Rick Vernon Johnson
                    File No. 1:23-cr-00040
                    Asset ID: 24-FBI-007605 Vacant Land in Leroy, MI

 Dear Ms. Davenport:

         Enclosed please find a Preliminary Order of Forfeiture in the above referenced case. If
 you wish to contest this matter, you have thirty (30) days from receipt of this notice to petition
 the court for a hearing to adjudicate the validity of any alleged interest in the property pursuant
 to Title 21, United States Codes, Section 853(n)(2), (3).

          If you have any questions, please contact me.

                                               Sincerely,

                                               MARK A. TOTTEN
                                               United States Attorney

                                                Isl Daniel T. McGraw

                                               DANIEL T. McGRAW
                                               Assistant United States Attorney

 DTM/cv
 Enclosure
Case 1:23-cr-00040-JMB                    ECF No. 187-1, PageID.2349                                  Filed 11/15/24                 Page 2 of 2




                 SENDER: COMPLETE THIS SECTION




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                    Common Cents Harvest
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                 :/ c/o Resident Agent Theres ,.,

                         Reed City, Ml 4~677
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